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ORIGINAL
                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

   LINITED STATES OF AMERICA

   V                                                          No. 4:23-MJ-710
   LITA D',ANN MILLS (10)
   a/Wa"Lita May"


                      JOINT MOTION TO CONTINUE TIME TO INDICT
           The government and the defendant's attorney jointly request this Honorable Court

   to continue the time upon which an indictment must be filed in this case.l

           (1)     The government filed a criminal complaint against the defendant on

                   October 2,2023, alleging aviolation of 21 U.S.C. $ 846 (21 U.S.C. gg

                   8a1(a)(1) and (b)(l)(B)), Conspiracy to Possess with Intent to Distribute a

                   Controlled Substance

           (2)     The defendant appeared before the Honorable Jeffrey L. Cureton on

                   October 12, 2023. A detention hearing was set at that time.

           (3) Under the Speedy Trial Act, 18 U.S.C. $ 3161(b), an indictment must be
                   returned on the instant charge "within thirfy days from the date on which

                   [the defendant] was arrested or served with a summons in connection with

                   such charges." The 3Oth day in this case will fall on or about November




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    A defendant's "personal consent is not required" when the defendant's attorney is seeking a Speedy
   Trial Act continuance, including when it is a continuance of the indictment deadline under the Speedy
   Trial Act. Uniled States v. Robinson,6T F.4th742,749 (5th Cir. 2023).

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                 10,2023, taking into account some excludable time, pursuant to l8 U.S.C.

                 $ 3161(h)(l) and Federal Rule 45(a).

        (4)      The parties request that the Court continue presentation of the defendant's

                 case to the grand jury for an additional34 days because both parties believe


                that the case is likely to be resolved pre-indictment. The additional time is

                necessary for the parties to exchange information about the defendant and

                the case and for the government to disclose sufficient discovery to the

                defense to permit a thorough review and evaluation of the case against the

                defendant. These efforts may relieve the government of presenting the case

                to the grand jury, which will preserve both judicial and govemment

                resources and give the defense attorney time to digest the case and

                meaningfully negotiate terms of a potential guilty plea.

        (5)     The granting of this continuance, therefore, would be in the interest of

                judicial economy. Both parties likewise believe that a continuance would

                serve the ends ofjustice and would outweigh the interest of the public in a

                speedy trial. See 18 U.S.C. g 3161(hX7XA).

        (6)     This request is not made in effort to unduly delay the proceedings, but to

                permit the parties sufflrcient time for effective preparation, taking into

                account the exercise of due diligence. See 18 U.S.C. g 3161(hx7)(B)(iv).

        (7)     Defense counsel has conferred with his client and hereby certifies that his

                client agrees with this motion.




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        (8)     For the foregoing reasons, the parties request that this Honorable Court

                continue the time upon which an indictment must be filed for an additional

                34 days, until on or about December 14,2023.

                                                   Respectfu lly submitted,

                                                        HA
                                                                       ATTORNEY



          BOONE
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